USCA4 Appeal:
          Case25-4184     Doc: 1     Filed:Document
                 3:23-cr-00011-RSB-JCH      04/07/2025
                                                     322 Pg: 1 of04/08/25
                                                          Filed   1            Page 1 of 1
                                         Pageid#: 3626

                                                                       FILED: April 7, 2025

                             UNITED STATES COURT OF APPEALS
                                 FOR THE FOURTH CIRCUIT

                                          ___________________

                                            No. 25-4184
                                    (3:23-cr-00011-RSB-JCH-1)
                                       ___________________

         UNITED STATES OF AMERICA

                      Plaintiff - Appellee

         v.

         SCOTT HOWARD JENKINS

                      Defendant - Appellant


         This case has been opened on appeal.

         Originating Court                        United States District Court for the
                                                  Western District of Virginia at
                                                  Charlottesville
         Originating Case Number                  3:23-cr-00011-RSB-JCH-1
         Date notice of appeal filed in           04/04/2025
         originating court:
         Appellant                                Scott Howard Jenkins

         Appellate Case Number                    25-4184
         Case Manager                             Taylor Barton
                                                  804-916-2702
